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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLANIA

 MARKEL AMERICAN INSURANCE                            :       Civil Action No. 2:24-cv-01438
 COMPANY                                              :
                                                      :
                             Plaintiff                :
                                                      :
        v.                                            :
                                                      :
 MARCHFWD, LLC f/k/a MWEALTH                          :
 ADVISORS                                             :
                                                      :
                            Defendant.                :
                                                      :

                                         ORDER

       And now, on this 31st day of January 2025, upon consideration of Plaintiff Markel

American Insurance Company’s Motion for Judgment on the Pleadings (the “Motion”), and

Defendant MarchFwd, LLC f/k/a MWealth Advisors’ response thereto, it is hereby ordered that

such Motion is DENIED.


                                         BY THE COURT:




                                         __________________________
                                         GAIL A. WEILHEIMER         J.
